       Case 5:14-cv-02561-EJD Document 111
                                       110 Filed 01/12/16
                                                 01/08/16 Page 1 of 2


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 7   Attorneys for Plaintiff                                         N                F
     24/7 Customer, Inc.                                                D IS T IC T O
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 9                                   UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11                                           SAN JOSE DIVISION

12   24/7 Customer, Inc.,                              Case No. 14-CV-02561-EJD

13                             Plaintiff,               JOINT MOTION TO DISMISS

14                  v.

15   24-7 Intouch, and Ascenda USA, Inc.,

16                             Defendants.

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                                                                                   JOINT MOTION TO DISMISS
                                                                                      Case No. 14-CV-02561-EJD
       Case 5:14-cv-02561-EJD Document 111
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                                                 01/08/16 Page 2 of 2



 1          Pursuant to a Settlement Agreement, 24/7 Customer, Inc., 24-7 Intouch, Incorporated, and
 2   Ascenda USA, Inc., by and through their respective counsel of record, hereby respectfully request
 3   that the Court dismiss the above-captioned action as follows:
 4              1. All claims, counterclaims, and defenses in the above-captioned Action are
 5                  dismissed with prejudice; and
 6              2. Each party will bear its own costs and attorney’s fees.
 7             3. The Clerk shall close this file.
     Dated: January 8, 2016                       O’MELVENY & MYERS LLP
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                                                 By: /s/ Mark E. Miller
10                                                      Mark E. Miller
                                                        Attorneys for Plaintiff 24/7 Customer, Inc.
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12   Dated: January 8, 2016                      SINGER / BEA LLP
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14                                               By: /s/ Benjamin L. Singer
                                                        Benjamin L. Singer
15                                                      Attorneys for Defendants 24-7 Intouch and
                                                        Ascenda USA, Inc.
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18   ATTESTATION: Pursuant to Local Rule 5-1(i)(3) I hereby attest that concurrence in the filing
19   of this document has been obtained from Benjamin Singer.

20                                                        By: s/ Mark E. Miller
                                                                 Mark E. Miller
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                                                                              JOINT MOTION TO DISMISS
                                                    -1-                          Case No. 14-CV-02561-EJD
